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     Counsel for Al Miller & Sons Roofing Co., Inc., Apple J Plumbing, Desert Palms Electric,
 6   Inc., Mascorro Concrete Construction, Tandem West Glass, Inc., and Temalpakh, Inc. dba
     The Works Floor & Wall
 7
                                     UNITED STATES BANKRUPTCY COURT
 8
                   CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION
 9

10   In re                                                        Case No.: 2:21-bk-11188-BB
11
     Glenroy Coachella, LLC,                                      Chapter 7
12
                                                                  DECLARATION OF RUSS MILLER OF AL
13                                                 Debtor.        MILLER & SONS ROOFING CO, INC, IN
                                                                  SUPPORT      OF    SENIOR    PRIORITY
14                                                                MECHANIC LIENHOLDERS’ NOTICE OF
                                                                  MOTION AND MOTION FOR ORDER RE:
15                                                                COMPEL CHAPTER 7 TRUSTEE TO PAY
                                                                  SENIOR      MECHANIC    LIENHOLDERS’
16                                                                OVERSECURED     CLAIMS    FROM   THE
                                                                  $4,000,000 ESCROW ACCOUNT PURSUANT
17                                                                TO THE COURT’S COMPROMISE ORDER
                                                                  (ECF NO. 445) AND THE COURT’S SALE
18                                                                ORDER (ECF NO. 490)
19                                                                  [Motion to Compel Payment and Request
20                                                                    for Judicial Notice Filed and Served
                                                                             Concurrently Herewith]
21
                                                                  Hearing:
22                                                                Date: December 1, 2021
                                                                  Time: 10:00 a.m.
23                                                                Ctrm.: 1539, 15th Floor1
                                                                         U.S. Bankruptcy Court
24                                                                       255 E. Temple Street
                                                                         Los Angeles, CA 90012
25

26
     1
       Due to the COVID-19 outbreak, Judge Bluebond will be holding all hearings remotely until further notice. Some
27   hearings will be held via telephone using CourtCall and some hearings will be held via ZoomGov. The cover page for
     the publicly posted hearing calendar will state whether the hearings that day will be held via telephone by CourtCall or
28   via ZoomGov. The calendar is posted to the public at least two weeks prior to the hearing and can be accessed at the
     following web address: http://ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=BB (Click on the “Select Judge” tab on the
     upper left side of the screen and select Judge Bluebond).
                                                             1
                          DECLARATION RUSS MILLER RE: MOTION COMPEL PAYMENT
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 1         TO THE HONORABLE SHERI BLUEBOND, U.S. BANKRUPTCY JUDGE; THE

 2   DEBTOR AND ITS COUNSEL OF RECORD; THE CHAPTER 7 TRUSTEE AND HIS

 3   COUNSEL OF RECORD; USRECH AND ITS COUNSEL OF RECORD; AND OTHER

 4   PARTIES ENTITLED TO NOTICE:

 5         Senior Secured Mechanics Lienholder Al Miller & Sons Roofing Co., Inc. submits the

 6   following Declaration of Russ Miller of Al Miller & Sons Roofing Co., Inc. in Support Of

 7   Senior Priority Mechanic Lienholders’ Notice Of Motion And Motion For Order Re: Compel

 8   Chapter 7 Trustee To Pay Senior Mechanic Lienholders’ Oversecured Claims From The

 9   $4,000,000 Escrow Account Pursuant To The Court’s Compromise Order (ECF No. 445)

10   And The Court’s Sale Order (ECF No. 490).

11

12   Dated: November 10, 2021                POLIS & ASSOCIATES, APLC

13
                                         By: /s/ Thomas J. Polis
14                                           Thomas J. Polis, Esq.
                                             Counsel Al Miller & Sons Roofing Co., Inc.,
15                                           Apple J Plumbing, Desert Palms Electric,
                                             Inc., Mascorro Concrete Construction,
16                                           Tandem West Glass, Inc., and Temalpakh,
                                             Inc. dba The Works Floor & Wall
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 1                                  DECLARATION OF RUSS MILLER

 2          I, Russ Miller, declare as follows:

 3          1.        I am a principal of Al Miller & Sons Roofing, Inc. (“Al Miller Roofing”), with its

 4   principal place of business located at 68-760 Summit Drive, Cathedral City, CA 92234. I

 5   make this Declaration in support of Senior Secured Mechanics Lienholders’ Motion to

 6   Compel Payment. If compelled to do so, I would be able to competently testify to all facts

 7   stated herein under the penalty of perjury of the laws of the United States of America.

 8          2.        In my capacity as a principal of Al Miller Roofing, I am required to, and have

 9   become personally familiar with the manner in which Al Miller Roofing’s documents, books

10   and records are prepared and maintained. Al Miller Roofing regular course of business is to

11   create and maintain detailed records of all its transactions and related files.

12          3.        It is Al Miller Roofing’s practice to record transactions, acts, conditions, and

13   events concerning its transactions and related documents relevant to the business. Al Miller

14   Roofing maintains those records and relies upon such records in business dealings with

15   third parties.

16          4.        I have personally reviewed Al Miller Roofing’s documents, books and records

17   relevant to the extent necessary to prepare this Declaration.

18          5.        On or about January 17, 2018, Mechanics Lien Claimant Al Miller Roofing

19   entered into a Construction Contract with the General Contractor, Doug Wall (“Wall”) to

20   provide roofing supplies and labor for the roofing needs for the hotel units located at the

21   Debtor’s real property commonly known as 84-150 Avenue 48, Coachella, California 92201

22   (“Debtor’s Real Property”). Al Miller Roofing immediately on and after January 17, 2018

23   provided and delivered supplies, materials and labor to the Debtor’s Real Property. A true

24   and correct copy of Al Miller Roofing’s Construction Contract is included with Al Miller

25   Roofing’s State Court Complaint filed herewith as Exhibit “A-1”.

26          6.        Thereafter on about April 26, 2018, I am informed and believed that USRECH

27   or its related entity recorded a deed of trust encumbering the Debtor’s Real Property in

28   conjunction with USRECH’s $24,000,000 loan to the Debtor.


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                        DECLARATION RUSS MILLER RE: MOTION COMPEL PAYMENT
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 1          7.     I am informed and believed that prior to USRECH recording its April 2018

 2   Deed of Trust in conjunction with its $24,000,000 loan to the Debtor, USRECH’s

 3   representatives were fully informed of Lien Claimant Al Miller Roofing’s delivery of roofing

 4   materials and labor related thereto at the Debtor’s Real Property.

 5          8.     On or about December 31, 2019, as a result of the Debtor’s and Wall’s

 6   breaches under the Construction Contract, Movant/Claimant Al Miller Roofing was forced to

 7   commence litigation in the California Superior Court for the County of Riverside against Wall

 8   and the Debtor for non-payment of Al Miller Roofing’s supplies and materials, along with the

 9   labor related thereto delivered to the Debtor’s Real Property. At no point during the State

10   Court Litigation or during the Debtor’s bankruptcy has the senior priority aspect of Al Miller

11   Roofing’s mechanics lien claim been disputed (See, Exhibit “A-1” to Movants’ Request for

12   Judicial Notice filed concurrently herewith).

13          9.     On April 28, 2021, Al Miller Roofing, through its bankruptcy counsel filed its

14   Notice of Perfection with this Court. (See, Exhibit “A-2” to Movants’ Request for Judicial

15   Notice filed concurrently herewith).

16          10.    As of the Debtor’s Petition Date, Lien Claimant was owed $230,549.00,

17   comprised of $192,376.25 for unpaid materials, supplies, and labor; $38,173.91 for

18   reasonable attorneys’ fees provided for under the Construction Contract between Wall and

19   Lien Claimant Al Miller Roofing. During the preparation of the Omnibus Compel Payment

20   Motion my office discovered that the initial proof of claim filed was not the correct amount for

21   my Company’s Proof of Claim, thus an Amended Proof of Claim will be filed as soon as

22   possible.

23          11.    As of December 1, 2021, Lien Claimant Al Miller Roofing will be owed

24   $273,058.56, comprised of $192,376.25 for its general claim, $49,902.11 for its reasonable

25   attorneys’ fees and $30,786.20 for interest (both pre-petition and post-petition). Thereafter,

26   the additional per diem will be $52.71.

27   ///

28   ///


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                      DECLARATION RUSS MILLER RE: MOTION COMPEL PAYMENT
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 1                             PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is: POLIS & ASSOCIATES, 19800 MacArthur Boulevard, Suite 1000, Irvine, California
 3   92612-2433

 4   A true and correct copy of the foregoing document described DECLARATION OF RUSS MILLER OF AL
     MILLER & SONS ROOFING CO, INC, IN SUPPORT OF SENIOR PRIORITY MECHANIC
 5   LIENHOLDERS’ NOTICE OF MOTION AND MOTION FOR ORDER RE: COMPEL CHAPTER 7
     TRUSTEE TO PAY SENIOR MECHANIC LIENHOLDERS’ OVERSECURED CLAIMS FROM THE
 6   $4,000,000 ESCROW ACCOUNT PURSUANT TO THE COURT’S COMPROMISE ORDER (ECF NO.
     445) AND THE COURT’S SALE ORDER (ECF NO. 490) will be served or was served (a) on the judge in
 7   chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:

     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (ANEF@) B Pursuant to controlling
 8
     General Order(s) and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
     document. On November 10, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary
 9
     proceeding and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF
     transmission at the email addresses stated below:
10
     SEE ATTACHED CONTINUED PAGE
11

12
                                                                Service information continued on attached page
13
     2. SERVED BY U.S. MAIL:
     On November 10, 2021, I served the following persons and/or entities at the last known addresses in this
14
     bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
     United States Mail, first class, postage prepaid, addressed as follows. Listing the judge here constitutes a
15
     declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
16

17
     Hon. Sheri Bluebond, US Bankruptcy Court, 255 E. Temple Street, Suite 1534, Los Angeles, CA 90012
18
                                                        G        Service information continued on attached page
19

20
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
21
     (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on      , 2021,
     I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
22
     consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the
     judge here constitutes a declaration that personal delivery on the judge will be completed no later than 24 hours
23
     after the document is filed.
                                                        G Service information continued on attached page
24

25

26
     I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
     and correct.
27
      November 10, 2021                         Cristina L. Allen                          /s/ Cristina L. Allen
28
            Date                                 Type Name                                  Signature

                                                          6
                         DECLARATION RUSS MILLER RE: MOTION COMPEL PAYMENT
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                                   CONTINUED PROOF OF SERVICE PAGE

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (ANEF@) B

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